Fill in this Information to identify the case:

 

Debtor 1 le \ { becundcet hres ( dlinsel)

FirstName Middie Name Last Nam

Debtor 2 CD re hiene| \ bres

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the District of Maryland

case numvor_['T— [14

 

 

 

 

Form 1340 (12/19)
APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

 

1. Claim Information

For the benefit of the Ciaimant(sy’ named below, application is made for the payment of unclaimed funds on deposit with
the court. | have no knowledge that any other party may be entitled to these funds, and | am not aware of any dispute
regarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimants.

 

Amount: . SOS F. G 2

 

Claimant’s Name: .
aimant’s Name Dre Lh. hres

 

Claimant's Current Mailing ‘Fit
Address, Telephone Number, 3496
and Emaii Address:

“eg TERN

Beuoe 20 Ty

 

Jf

Received by Claimant afl uta machen repvreed equation chdte Keol pred

 

Reason Funds Were Not Aste Check Lvs veiled fer GO loys . by fhe. tome 4 Glory

se

 

2. Applicant information

Applicant? represents that Claimant is entitled to receive the unclaimed funds because (check fhe statements that

apply).

a Applicant is the Claimant and is the Owner of Record? entitled to the unclaimed funds appearing on the records of
the court.

| Applicant is the Claimant and is entitled to the unclaimed funds by assignment, purchase, merger, acquisition,
succession or by other means.

C1 Applicant is Claimant's representative (¢.g., attorney or unclaimed funds locator).

wt Applicant is a representative of the deceased Claimani’s estate.

 

3. Supporting Documentation

supporting documentation, including separate affidavit, with this application.

 

Applicant has read the court's instructions for filing an Application for Unclaimed Funds and is providing the required

 

 

 

! The Claimant is the party entitled to the unclaimed funds.
2 The Applicant is the party filing the application. The Applicant and Claimant may be the same.
+ The Owner of Record is the original payee.

 
 

>
t

4. Notice to United Stafe#Attdrney’ 144 VOTO

pursuant to 28 U.S.C. § 2042, at the following address:

led 4194 (90
PMO OToTaey

Danga 2 of 2
Tags

C1! Applicant has sent a copy of this application and supporting documentation to the United States Attorney,

U.S. Attorney for the District of Maryland
36 S. Charles Street, 4h Figor
Baltimore, MD 24204

 

5. Applicant Declaration

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct.

it bin Ze

kK {A ee
- + Signature of Appligant- coos Toe — a

Printed Name of Applicant

Date;

Address: (F426 enalet LPN
Bye mow POTS

“Telephone: el -FAG ORS

Canes beeareai!: Corr

Email:

5. Co-Applicant Declaration (if applicable)

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correci,

Date:

 

Signature of Co-Applicant (if-applicable)_.___
Printed Name of Co-Applicant (if applicable)

Address:

Telephone:

 

Email:

 

 

6. Notarization

STATE OF Vf QGIN HA.
COUNTY OF AQ 1 j NGREN

This Appiication for Unclaimed Funds, dated .

Diag | 2oRD _ was subscribed and sworn to before

me this_9 ott ay of_{zisuat Ws 20.2 by __
DINd  gpwes

who signed above and is personally known to me (or

proved to me on the basis of satisfactory evidence) to be

the person whose name is subscribed to the within

instrument. WITNESS my hand ul Official seal. . (A
/\)

(SEAL} Notary Public

¥
—_

 

My commission expires? | aa Den

 

Ishmael Lampte
Commonwealth of Virglnia

6. Notarization
STATE OF

 

COUNTY OF

 

This Application for Unclaimed Funds, dated
was subscribed and sworn to before
-methis... day of. 5202... -by

who signed above and is personally known to me (or
proved to me on the basis of Satisfactory evidence) to be
the person whose name is subscribed to the within
instrument. WITNESS my hand and official seal.

(SEAL) Notary Public

> My commission expires:

 

 

Notary Public

 

 

7 —Commnisston NoO.77397769
hy Commission Expires 12/34/2029

 

 

 

Form 1340

Application for Payment of Unclaimed Funds (MDB)

Page 2

 
Case 17-17124 Docé6/ Filed 01/31/20 Page3of3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND

 

 

 

 

IN RE: * .
* Case No. [T- (TP4
*
* Chapter L3
*
CERTIFICATE OF SERVICE
Notice is hereby given to the Court that on D 1 an AO (Date),

 

the U.S. Attorney for the District of Maryland at 36 S. Charles Street, Baltimore, MD,
21201, was advised via first class mail of the intent of the individual(s) or entity below (hereafter

“Claimant”) to request the withdrawal of funds from the Court’s Registry of Unclaimed Funds.

Vir Ls Saves (5 ts t
[34126 Legs Teen (Bese. OBES

Complete Address of Claimant

Respectfully Submitted,

et rw Ze

Signature of Clafhhant or GEL s Representative

\Dne Li bes

Printed Name of Claimant or Claimant’s Representative

IBC Banque Len Bae MO OTIS

Complete Addresk of Claimant or Claimant’s Representative

 

SUBSCRIBED AND SWORN TO BEFORE ME this). '7__ day of .
20 '3ey_, in the County of YAO 3 YaPoN , State of WIR@Gr NT

MILK

 

Ishmael Lamptey
Commonwealth of Virginla
Notary Public
Lg i Commission No. 7797 168

Signature of Wotag y P blic |

 
  

 

 

Date Commission Expires: }2. [ay 2oMD

 

 

 
